           Case 1:19-vv-00524-UNJ Document 42 Filed 09/11/20 Page 1 of 4




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0524V
                                          UNPUBLISHED


    DAYNA CLARK,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: August 10, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Gerald S. Sack, Law Offices of Gerald S. Sack, LLC, West Hartford, CT, for petitioner.

Althea Walker Davis, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES 1

       On April 10, 2019, Dayna Clark filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she suffered a left Shoulder Injury Related to Vaccine
Administration (SIRVA) as a result of an influenza (“flu”) vaccination administered on
October 10, 2017. Second Amended Petition at Preamble (ECF 27). Petitioner further
alleges that her symptoms “persisted for more than six months.” Petition at 4. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On August 3, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for a left SIRVA. ECF 34. On August 10, 2020, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded $55,000.00
for pain and suffering. Proffer at 1. In the Proffer, Respondent represented that Petitioner

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
          Case 1:19-vv-00524-UNJ Document 42 Filed 09/11/20 Page 2 of 4



agrees with the proffered award. Id. at 2. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $55,000.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
            Case 1:19-vv-00524-UNJ Document 42 Filed 09/11/20 Page 3 of 4




                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

DAYNA CLARK,                                 )
                                             )
       Petitioner,                           )
                                             )       No. 19-524V
       v.                                    )       Chief Special Master
                                             )       Brian H. Corcoran
AND HUMAN SERVICES,                          )       SPU
                                             )
                Respondent.                  )
                                             )

              RESPONDENT'S PROFFER ON AWARD OF COMPENSATION

       On April 10, 2019, Dayna Clark (“petitioner”) filed a petition for compensation

(“Petition”) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -

34 (“Vaccine Act” or “Act”), as amended. Respondent conceded petitioner’s entitlement to

compensation in his Rule 4(c) Report filed on August 3, 2020. Based on Respondent’s Rule 4(c)

Report, on August 3, 2020, Chief Special Master Corcoran found petitioner entitled to

compensation for her left shoulder SIRVA injury.

I.    Items of Compensation

       Based upon the evidence of record, respondent proffers that petitioner should be awarded

$55,000.00 for pain and suffering. This represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $55,000.00, in the form of a check made payable to petitioner. 1



1
 Should petitioner die prior to the entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering.
          Case 1:19-vv-00524-UNJ Document 42 Filed 09/11/20 Page 4 of 4




Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                    Respectfully submitted,

                                                    ETHAN P. DAVIS
                                                    Acting Assistant Attorney General

                                                    C. SALVATORE D’ALESSIO
                                                    Acting Director
                                                    Torts Branch, Civil Division

                                                    CATHARINE E. REEVES
                                                    Deputy Director
                                                    Torts Branch, Civil Division

                                                    ALEXIS B. BABCOCK
                                                    Assistant Director
                                                    Torts Branch, Civil Division

                                                     s/Althea Walker Davis
                                                    ALTHEA WALKER DAVIS
                                                    Senior Trial Counsel
                                                    Torts Branch, Civil Division
                                                    U.S. Department of Justice
                                                    P.O. Box 146
                                                    Benjamin Franklin Station
                                                    Washington, D.C. 20044-0146
                                                    Tel: (202) 616-0515

DATED: August 10, 2020




                                                2
